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           EXHIBIT B
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              IN THE UNITED STATES DISTRICT COURT
             FOR THE NORTHERN DISTRICT OF GEORGIA
                        ATLANTA DIVISION

DONNA CURLING, ET AL.,
Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
v.

BRAD RAFFENSPERGER, ET AL.,
Defendants.


            PLAINTIFFS’ JOINT NOTICE OF DEPOSITION OF
                 DOMINION VOTING SYSTEMS, INC.

TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

      PLEASE TAKE NOTICE that Plaintiffs will take the deposition by oral

examination of Non-Party Dominion Voting Systems, Inc. (“Dominion”) as

permitted by Rule 45 of the Federal Rules of Civil Procedure and applicable court

orders in the above-captioned matter. This deposition will take place on Wednesday,

August __, 2020, beginning at 11:00 a.m. ET / 9:00 a.m. MT, and continue from

day to day until completed, at Dominion Voting Systems, Inc., 717 17th Street, Suite

310, Denver, Colorado 80202, using an online platform for remote participation. The

deposition shall be taken by oral examination with written and/or sound and visual

record made thereof before a court reporter or other officer authorized by law to

administer oaths.

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       Pursuant to Federal Rule of Civil Procedure 30(b)(6), Dominion is hereby

notified of its obligation to designate one or more officers, directors, managing

agents, employees, or other persons to testify on its behalf about the matters set forth

in Attachment A. The person(s) so designated shall be required to testify about each

of those matters known or reasonably available to Dominion. In addition, Dominion

is hereby notified of its obligation to produce responsive documents, pursuant to

Attachment B, at least two days before the deposition noticed in the accompanying

subpoena.

       Respectfully submitted this 5th day of August, 2020.


  /s/ David D. Cross                          /s/ Halsey G. Knapp, Jr.
 David D. Cross (pro hac vice)               Halsey G. Knapp, Jr.
 John P. Carlin (pro hac vice)               GA Bar No. 425320
 Lyle P. Hedgecock (pro hac vice)            Adam M. Sparks
 Mary G. Kaiser (pro hac vice)               GA Bar No. 341578
 Robert W. Manoso (pro hac vice)             KREVOLIN & HORST, LLC
 MORRISON & FOERSTER LLP                     1201 West Peachtree Street, NW
 2000 Pennsylvania Avenue, NW                Suite 3250
 Suite 6000                                  Atlanta, GA 30309
 Washington, DC 20006                        (404) 888-9700
 (202) 887-1500
     Counsel for Plaintiffs Donna Curling, Donna Price & Jeffrey Schoenberg

 /s/ Bruce P. Brown                          /s/ Robert A. McGuire, III
 Bruce P. Brown                              Robert A. McGuire, III
 Georgia Bar No. 064460                      Admitted Pro Hac Vice
 BRUCE P. BROWN LAW LLC                        (ECF No. 125)
 1123 Zonolite Rd. NE                        ROBERT MCGUIRE LAW FIRM


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 (404) 881-0700                            (253) 267-8530
                   Counsel for Coalition for Good Governance

 /s/ Cary Ichter
 Cary Ichter
 Georgia Bar No. 382515
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                        Ricardo Davis & Megan Missett

 /s/ John Powers
 John Powers
 David Brody
 Lawyers’ Committee for Civil Rights
 Under Law
 1500 K St. NW, Suite 900
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 (202) 662-8300

                          Counsel for Coalition Plaintiffs




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     ATTACHMENT A: RULE 30(B)(6) TOPICS FOR EXAMINATION

   1. Dominion’s knowledge of testing of Georgia’s current Dominion voting
      system equipment. Specifically:
         a. Dominion’s knowledge of acceptance testing in Georgia;
         b. Dominion’s involvement in Logic and Accuracy Testing of Georgia’s
            current Dominion voting equipment and the results thereof; and,
         c. Dominion’s knowledge of other state and county testing of Georgia’s
            current Dominion voting equipment and the results thereof.

   2. Dominion’s responsibilities with respect to Georgia’s counties’ conduct
      during 2020 Georgia elections. Specifically:
         a. Scope of Dominion’s responsibilities in 2020 Georgia elections;
         b. Dominion’s oversight of technicians and other election workers in
            2020 Georgia elections; and,
         c. Dominion’s involvement in hiring and training activities for
            technicians and other election workers for 2020 Georgia elections.

   3. Hand-marked ballot scanning and vote counting, and adjudication software
      applications. Specifically:
         a. Functionality and operation of Georgia’s current Dominion voting
            software for scanning hand-marked paper ballots;
         b. Functionality and operation of Georgia’s current Dominion voting
            software for adjudicating voter marks; and,
         c. Training of technicians, other election workers, and/or counties on
            above matters.

   4. Dominion’s knowledge of electronic pollbook issues in Georgia 2020
      elections. Specifically:
         a. Identification of known issues requiring hardware or software changes
             to electronic pollbooks and
         b. Report writing capabilities of the system.

   5. Dominion’s knowledge of security issues related to Georgia’s current voting
      system. Specifically:
         a. Potential for remote access to system components, including but not
            limited to voter registration databases and/or websites;


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             b. Dominion’s recommendations regarding securing voting equipment
                components, including but not limited to those that are stored
                overnight in early voting polling places;
             c. Transfer of data from Georgia’s prior system to the current Dominion
                voting system and the use of any aspects of Georgia’s prior system
                with the current Dominion voting system since its adoption;
             d. Security and wireless connections involving electronic pollbooks; and,
             e. Reports, evaluations, assessments, and/or findings regarding security
                concerns, breaches, attempted breaches, and/or vulnerabilities
                involving components in use with Georgia elections.

   6. Dominion’s knowledge of auditability and voter verifiability of Dominion
      ballot-marking devices in use with Georgia elections. Specifically:
         a. Dominion’s knowledge of methods and/or reliability of voter
             verification of contents of ballot card printouts produced by Georgia’s
             current Dominion voting system; and,
         b. Dominion’s knowledge of methods and/or reliability of pre-election
             and/or post-election auditing of election results produced by Georgia’s
             current Dominion voting system, including but not limited to risk-
             limiting audits of that system.

   7. Authentication, identification, substance, and context of any documents
      produced in response to the accompanying subpoena.




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   ATTACHMENT B: DOCUMENTS REQUESTED FOR PRODUCTION

Definitions

        The following words, terms, or phrases shall, for purposes of the requests for

production of documents below and for the Rule 30(b)(6) topics in Attachment A,

have the meanings specified, unless otherwise expressly stated in each request:

       “And” as well as “or” are to be construed either disjunctively or conjunctively

as necessary to bring within the scope of the Requests all documents or other

information that might otherwise be construed to be outside their scope.

       “Related to,” “relating to,” and “regarding” shall mean analyzing, alluding to,

concerning, considering, commenting on, consulting, comprising, containing,

contradicting, describing, dealing with, discussing, establishing, evidencing,

identifying, involving, noting, recording, reporting on, related to, relating to,

reflecting, referring to, regarding, stating, showing, studying, mentioning,

memorializing, or pertaining to, in whole or in part.

       “Document” and “documents” shall be synonymous in meaning and equal in

scope to the usage of that term in Rule 34(a), and includes “tangible things” (as that

term is used in Rule 34(a)(1)(b)) as well as anything that falls within the definition

or meaning of “electronically stored information” (as that term is used in Rule

34(a)(1)(A)) or of “writings” or “recordings” in Federal Rule of Evidence 1001. A


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draft or non-identical copy of a document shall be considered a separate document

within the meaning of the term “document,” as used in the Requests.

       “Georgia” or “Georgia Secretary of State” or “Georgia counties” means and

includes Brad Raffensperger, David J. Worley, Rebecca N. Sullivan, Ralph F.

“Rusty” Simpson, and Matthew Mashburn in their official capacities, the Georgia

Secretary of State’s Office, CES, and the Georgia State Election Board, as well as

the respective agents, employees, representatives, consultants, counsel, and anyone

else acting on behalf of each, any, or all of the forgoing.

       “Including” means including without limitation.

       “Relevant Time Period” means January 1, 2019, until the present unless

otherwise indicated.

       “You”, “Your”, and “Dominion” mean and include Non-Party Dominion

Voting Systems, Inc., its predecessors, divisions, subsidiaries, affiliates, partnerships

and joint ventures, and all directors, officers, employees, and agents thereof, and any

other person acting on its behalf or under its direction or control with respect to

subject matter of the subjects of oral examination.

Instructions

       1.    For each request, you are to produce entire documents including all

attachments, enclosures, cover letters, memoranda, exhibits, and appendices. Copies


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that differ in any respect from an original (because, by way of example only,

handwritten or printed notations have been added) shall be treated as separate

documents and produced separately.         Each draft of a document is a separate

document. A request for a document shall be deemed to include a request for any

and all transmittal sheets, cover letters, exhibits, enclosures, or attachments to the

document, in addition to the document itself.

       2.    Provide all electronically stored information (“ESI”) in standard,

single-page Group IV TIFF format with searchable text and metadata in a Relativity

or similar load file. Also, provide any spreadsheet or presentation files, including

Microsoft Access, Excel, and PowerPoint files, as well as audio, audiovisual, and

video files, in their native formats. Also, provide any responsive election system

files including but not limited to election database files (.edb files), election resource

files (.xtr files), ballot results files (.brs files), audit log files (.adt files), GEMS

backup files (.gbf files), DB dump files (.dbf files), election control files (.d files),

AccuBasic scripts (.abs and .abo files), software updates (including but not limited

to .nb0, .bin, and .ins files), other election software or data files, and system and

server log files in their native formats. Provide all hard copy documents as image

files with searchable OCR text and unitize the hard copy documents to the extent

possible (i.e., multi-page documents shall be produced as a single document and not


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as several single-page documents). Hard copy documents shall be produced as they

are kept in the usual course, reflecting attachment relationships between documents

and information about the file folders within which the document is found. Produce

the metadata for any responsive ESI with the responsive data, including the

following fields: custodian(s), author(s), recipient(s), copy recipient(s), blind copy

recipient(s), company name, subject, file sent date/time, file received date/time, file

creation date/time, file modification date/time, file access date/time, time zone,

beginning bates, ending bates, page count, family bates range, hash value,

application type, file type, file name, file size, file path, and folder path. Documents

produced in native format shall be accompanied by a native link field.

       3.    If you withhold or intend to withhold any documents or other

information requested by the Requests on the ground of the attorney-client privilege,

work-product doctrine, or other privilege, doctrine, or immunity, please provide a

privilege log that meets the requirements of Rule 26(b)(5), including: (a) the

document or information alleged to be so protected from production by author,

subject matter, date, number of pages, attachments, and appendices; (b) the names

and job titles of all recipients of the information or document, including any “blind

copy” recipients and any person to whom the information or document was




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distributed, shown, or explained; (c) the document’s current custodian(s); and (d) all

bases, factual and legal, upon which the claim of protection from discovery rests.

       4.    If only a portion of a responsive document or other requested

information is claimed to be privileged against production, you should produce the

responsive non-privileged portion of the document or other information in redacted

form, provided that the redacted material is identified and the basis for the claim of

privilege or protection is stated as provided in Instruction No. 3 above.

       5.    If you contend that any of the categories of the Requests are

objectionable in whole or in part, please state with particularity each objection, the

basis for it, and the categories of the Requests to which the objection applies, and

otherwise fully respond to the category insofar as it is not deemed objectionable.

       6.    These document requests shall not be deemed to call for identical copies

of documents. “Identical” means precisely the same in all respects; for example, a

document with handwritten notes or editing marks shall not be deemed identical to

one without such notes or marks.

       7.    The documents responsive to these requests are to be produced as they

were kept in the ordinary course of business, or in the way they were produced or

otherwise provided to you from a third party, and, if the documents were produced

by a third party, the identity of the third party shall be apparent or provided.


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       8.     Unless clearly indicated otherwise: (a) the use of a verb in any tense

shall be construed as the use of that verb in all other tenses; (b) the use of the

feminine, masculine, or neuter genders shall include all genders; and (c) the singular

form of a word shall include the plural and vice versa.

       9.     The Requests are deemed to be continuing so as to require the timely

submission of supplemental responses and the production of additional documents

or other information pursuant to the Rules and other applicable authority. Plaintiffs

specifically reserve the right to seek supplemental responses and additional

supplemental production of documents before trial.

       10.    Documents shall be produced to Plaintiffs via e-mail or comparable

electronic means to their counsel of record or other individuals identified by

Plaintiffs for receipt.

Document Requests

       1.     Documents, including but not limited to communications internal to

You or between or among any of You, Georgia Secretary of State, and/or Georgia

counties, reflecting plans for Georgia’s implementation of its Dominion voting

system (including interconnecting systems, such as third-party systems) and the

timing and feasibility of those plans, including ongoing implementation issues or

challenges; execution or operational issues or challenges related to any 2020


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elections; solutions implemented, planned, or contemplated for any such issues or

challenges; and research, reports, assessments, findings, and publications

(proprietary or non-proprietary) of the security, reliability, and accuracy of any

component of Georgia’s Dominion voting system.

       2.    Documents, including but not limited to communications internal to

You or between or among any of You, Georgia Secretary of State, and/or Georgia

counties, reflecting research, reports, assessments, findings, and publications

(proprietary or non-proprietary) pertaining to (i) auditability or verifiability of

election results produced by Your ballot-marking devices in use with Georgia

elections and (ii) voter verification of the accuracy of ballot cards produced by such

devices.

       3.    Any and all documents shown to or reviewed by your corporate

designee(s) for the accompany deposition subpoena and notice in the course of

preparing to give testimony at the deposition on the topics noticed.




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               IN THE UNITED STATES DISTRICT COURT
              FOR THE NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

 DONNA CURLING, ET AL.,
 Plaintiffs,
                                             Civil Action No. 1:17-CV-2989-AT
 v.

 BRAD RAFFENSPERGER, ET AL.,
 Defendants.

                         CERTIFICATE OF SERVICE

       I certify that on August 5, 2020, the foregoing was served by process server

on the registered agent of Dominion Voting Systems, Inc. The foregoing also was

served by e-mail on all counsel of record.

                                             /s/ David D. Cross
                                             David D. Cross




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